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 UNITED STATES DISTRICT COURT                                  EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                           §
                                                    §
 vs.                                                §           Case No. 4:07cr185
                                                    §           Case No. 4:08cr117
                                                    §           (Judge Crone)
 VU VAN DOAN                                        §

                   MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

           Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

 waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

 and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

 of the Court. It is therefore,

           ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

           ORDERED that Defendant’s supervised release is hereby REVOKED in both cases. It is

 further

           ORDERED that Defendant is sentenced to a term of imprisonment of eight (8) months with

 no supervised release to follow in Case No. 4:07cr185. It is further

           ORDERED that Defendant is sentenced to a term of imprisonment of eight (8) months with

 no supervised release to follow in Case No. 4:08cr117, to be served consecutively with the sentence
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 of imprisonment imposed in Case. No. 4:07cr185.   The Court recommends that Defendant be

 housed in the Bureau of Prisons, Big Spring Unit.
          .
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 19th day of March, 2014.




                                        ________________________________________
                                                    MARCIA A. CRONE
                                             UNITED STATES DISTRICT JUDGE




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